Case 2:04-cr-20049-SH|\/| Document 131 Filed 08/02/05 Page 1 of 6 Page|D 161

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ROBERT JEFFERSON

Jacob E. Erwin, CJA

Defense Attorney

200 Jefferson Avenue, Suite 1313
Memphis, Tennessee 38103

 

JUDGMENT lN A CR|M|NAL CASE
(For Offenses Committed On or After November1, 1987)

The defendant pleaded guilty to Counts 1 and 5 of the indictment on Ju|y 08, 2004. Accordingiy,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Offense Count
Tit|e & Section Nature of Offense Concluded Numbe[(s)
21 U.S.C. § 846 Gonspiracy to possess with the intent to 12/05/2003 1
distribute in excess of 50 grams of cocaine
base
21 U.S.C. § 846 Conspiracy to possess with the intent to 02/06/2004 5
distribute approximately 32.6 grams of cocaine
base

The defendant is sentenced as provided in the following pages of this judgment The sentence is
imposed pu rsu antto the Sentencing Fteform Act of 1984 and the NlandatoryVictims Hestitution Act
of 1 996.

Counts 2, 4 and 6 are dismissed on the motion of the United States.

|T lS FURTHER OFtDEFlED that the defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitutionl costs and special
assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:

Defendant’s Date of Birth: 09/20/1958 Ju|y 29, 2005
Deft’s U.S. Marsha| No.: 13936-076

Defendant’s Residence Address: y %/ '7'12
685 Leath

Memphis, TN 38107

 

SA|V|UEL H. MAYS, JR.
UN|TED STATES D|STR|CT JUDGE

t compliance
ment entered on the docket sheet ' 0
Tms dam or 32(bt FP\GrF‘ on g § , §

with Rttie 55 amf /S j

August 2' , 2005

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Case No: 04-20049`-02-Ma
Defendant Name: Robert Jefferson Page 2 of 5

lMPR|SONMENT
The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term ot fifty-four (54) months, which shall run consecutive
to defendant’s thirty (30) month sentence on the supervised release violation in Case # 93-
20100.
The Court recommends to the Bureau of Prisons:

That defendant be designated to serve his term of imprisonment at Federa|
Correctiona| |nstitution, Forrest City, Arkansas.

The defendant is remanded to the custody of the United States Marshal.

RETUFiN

| have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment
UN|TED STATES l\/|ARSHAL
By:

 

Deputy U.S. Marsha|

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Case No: 04-20049-02-Ma
Defendant Name: Fiobert Jefferson Page 3 of 5

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of three (3) years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons

Whi|e on supervised reiease, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|SION

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2_ The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shali answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5, The defendant shall notify the probation officer ten (10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substancesl except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

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Case No: 04-20049~02-Ma
Defendant Name: Robert Jefferson Page 4 of 5

‘lO.

11.

12.

13.

The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

lf this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penaities sheet of this judgment

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised

release:

1.

The defendant shall participate as directed in a program (outpatient and/or inpatient)
approved by the Probation Officer for treatment of narcotic addiction or drug or alcohol
dependency which may include testing for the detection of substance use or abuse Further,
the defendant shall be required to contribute to the costs of services for such treatment not
to exceed an amount determined reasonable by the Probation Officer.

The defendant shall seek and maintain lawful full-time employment

The defendant shall not associate with anyone involved with the use, sale, possession or
manufacture of illegal drugs.

The defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

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Case No: 04-20049-02-Ma
Defendant Name: Ftobert Jefferson Page 5 of 5

CR|M|NAL MONETARY PENALT|ES

The defendant shaft pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment pursuant to 18 U.S.C. §
3612(1). All of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Tota| Fine Tgtgl Ftestitution
$200.00

The Speolal Assessment shall be due immediately

F|NE
No fine imposed

REST|TUT|ON
No Flestitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 131 in
case 2:04-CR-20049 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

Jacob E. Ervvin
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1\/1emphis7 TN 38103

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
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Ste. 200

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Scott F. Leary

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

